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VIA ECF
The Honorable Sanket J. Bulsara
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

         Re:     Gonzalez, et al. v. 800-Flowers, Inc., No. 24-cv-08894-SJB-JMW
                 Pre-Motion Letter for 800-Flowers, Inc.’s Anticipated Motion to Dismiss and
                 Motion to Compel Arbitration

 Dear Judge Bulsara:

         Pursuant to Section VI.G. of Your Honor’s Individual Practices, 800-Flowers, Inc. requests
 a pre-motion conference concerning its anticipated motion to compel arbitration or, in the
 alternative, to strike plaintiffs’ class claims pursuant to Rule 12(f); and to dismiss plaintiffs’ second
 amended complaint (Docket Entry (“DE”) 14) for failure to state a claim and lack of statutory
 standing pursuant to Rule 12(b)(6).

         I.      Introduction

         800-Flowers offers Celebrations Passport to consumers, a membership program that
 renews annually and which provides free standard shipping and no service charges for eligible
 products the company sells such as flowers and gifts across the company’s family of brands.
 Plaintiffs claim that 800-Flowers charged them renewal fees for Celebrations Passport that
 plaintiffs never authorized or knew they would incur. Plaintiffs’ complaint seeks relief only for
 these renewal charges. However, plaintiffs agreed to arbitrate and to forgo pursuing class claims
 when they purchased Celebrations Passport. Thus, the Court should compel them to arbitrate or,
 in the alternative, strike their class claims.

         Alternatively, the Court should dismiss the second amended complaint for failure to state
 a claim for two independent reasons: (1) plaintiffs cannot use GBL § 349 to pursue alleged
 violations of New York’s automatic renewal law because the automatic renewal law does not
 confer any private right of action; and (2) plaintiffs lack statutory standing because they fail to
 allege any transaction occurred in New York.

         To be sure, this is not the first time that customers like the plaintiffs have been injected by
 plaintiffs’ counsel into litigation with fatal defects. In 2023 and 2024, plaintiffs’ counsel sued the
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company twice with a revolving roster of thirteen plaintiffs that lodged similar allegations under
California law. Of those, ten dismissed their claims or otherwise removed themselves including
because they either never incurred the charges underlying their claims and/or agreed to arbitrate
their claims. (Tessible “Skyler” Foster, et al. v. 800-Flowers, Inc., C.D. Cal. Case No. 23-cv-
07441-AB-PVC, DE 1, 20, 45; Damon Tate, et al. v. 800-Flowers, C.D. Cal. Case No. 2:23-cv-
04340-AB-PVC, DE 11-1, 18.)

       Then, in this Court, two plaintiffs started this litigation but then withdrew after 800-Flowers
showed to those plaintiffs through their counsel that they could not pursue their claims. (DE 13;
March 21, 2025, Order (holding in abeyance 800-Flowers’ obligation to respond to the First
Amended Complaint (DE 6) pending the filing of plaintiffs’ Second Amended Complaint).) The
new plaintiffs cannot pursue their claims either.

       II.     Motion to Compel Arbitration

       Garr alleges she purchased Celebrations Passport in March 2021 (DE 14 ¶ 30), and
company records show Brundage purchased Celebrations Passport in February 2021, not in
February 2024 as alleged in the complaint (Id. ¶ 27). As shown in these screenshots representative
of the checkout screens presented to customers who purchased Celebrations Passport from a
desktop computer on 1800flowers.com in March 2021 like Garr, and from a mobile device on
simplychocolate.com in February 2021 like Brundage, customers agreed to the Terms of Use,
hyperlinked in blue lettering offset by a white background when they clicked “PLACE ORDER”:

                                              Desktop
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                                            Mobile




       The Terms of Use state on the first page:

       PLEASE BE AWARE THAT THESE TERMS OF USE CONTAIN A BINDING
       ARBITRATION AGREEMENT AND CLASS ACTION WAIVER THAT WAIVE
       YOUR RIGHT TO A COURT HEARING AND JURY TRIAL.

(Exhibit A at 1.) They also contain detailed provisions governing arbitration and waiving class
claims. (Id. at 19.) And, as shown above, customers “were presented with links to th[is]
agreement[] and acknowledged via clicked checkboxes that they agreed to the terms in said
agreement[].” Stoll v. JPMorgan Chase Bank, N.A., No. 23-CV-4149(CBA)(MMH), 2024 WL
4469174, at *4–5 (E.D.N.Y. July 16, 2024). 800-Flowers’ motion will show that the caselaw
mandates compelling arbitration under these circumstances. Id. (“Courts in this circuit have
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repeatedly confirmed that by clicking through these ‘click-wrap’ agreements in this manner,
Plaintiffs agreed to be bound by the terms of these agreements.”).

        Alternatively, the Court should strike plaintiffs’ class claims because they agreed to forego
pursuing class relief when they agreed to the Terms of Use. Vitrano v. N.A.R., Inc.,
18CV06754KAMRLM, 2020 WL 1493620, at *9 (E.D.N.Y. Mar. 27, 2020) (finding “[c]lass
action waivers […] valid and enforceable” and granting defendant’s motion to strike class
allegations); (Ex. A at 19 (“YOUR CLAIM SHALL BE ARBITRATED ON AN INDIVIDUAL
BASIS, AND YOU SHALL NOT HAVE THE RIGHT TO PARTICIPATE IN A
REPRESENTATIVE CAPACITY, OR AS A MEMBER OF ANY CLASS OF CLAIMANTS
PERTAINING TO ANY CLAIM SUBJECT TO ARBITRATION.”).)

       III.    Plaintiffs Failed to State a Claim

               A.      GBL § 527-a Does Not Create a Private Right of Action

       Plaintiffs predicate their GBL § 349 claims on alleged violations of New York’s Auto-
Renewal Law, GBL § 527-a, which contains no private right of action and expressly reserves
enforcement to the attorney general, GBL § 527-a(7). (DE 14 ¶ 56 (“Defendant has violated
[GBL] § 349 statute by violation of the New York ARL, N.Y. Gen. Bus. Law § 527-a.”).)

        This mandates dismissal because plaintiffs cannot use GBL § 349 to assert private claims
for violations of statutes that do not confer a private right of action. Conboy v. AT&T Corp., 241
F.3d 242, 258 (2d Cir. 2001) (“[P]laintiffs cannot thwart legislative intent by couching a [GBL]
Section 601 claim as a Section 349 claim.”); Sigall v. Zipcar, Inc., 582 F. App’x 18, 20 (2d Cir.
2014) (finding appellants’ GBL § 349 claim was barred because “they merely repackage
Appellants’ GBL § 396–z claim,” which “does not provide a private right of action”); Schlessinger
v. Valspar Corp., 817 F. Supp. 2d 100, 103, 109–11 (E.D.N.Y. 2011) (finding “plaintiffs’
section 349 claim to be an impermissible end run around section 395-a’s lack of a private right of
action,” and granting defendant’s motion to dismiss). Therefore, the Court should dismiss
plaintiffs’ GBL § 349 claims.

        Alternatively, the Court should dismiss or strike the portions of plaintiffs’ claims that rely
on GBL § 527-a specific requirements. (DE 14 ¶ 56.) For instance, plaintiffs allege that defendant
“failed to provide notice of an automatic renewal […] at least 15 days and not more than 45 days
before […] renew[al],” as required under § 527-a(3)(b). (DE 14 ¶ 56(C).) But plaintiffs cannot
attempt to enforce this statutory bar by recharacterizing their claim as a violation of GBL § 349
under Conboy and the authorities in the preceding paragraph. Conboy, 241 F.3d at 258; Sigall, 582
F. App’x at 20; Schlessinger, 817 F. Supp. 2d at 103.
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       B.      Plaintiffs Lack Statutory Standing

        Regardless of whether a private cause of action exists under § 527-a, plaintiffs failed to
allege a deceptive transaction occurred in New York as required to state a claim under GBL § 349.
Greene v. Clean Rite Centers, 714 F. Supp. 3d 134, 149 (E.D.N.Y 2024) (“Without a connection
between her specific transaction with Defendants and New York, Plaintiff has no statutory
standing to bring a claim under Section 349.”).

        “[T]ransactions occur where the consumer viewed the advertisement or purchased the
product.” Wright v. Publishers Clearing House, Inc., 439 F. Supp. 3d 102, 110 (E.D.N.Y. 2020).
But Garr, who resides, pays taxes, votes, and “conducts all essential life services […] exclusively
in the State of Tennessee,” does not assert that she viewed the allegedly deceptive statements or
purchased Celebrations Passport in New York (DE 14 ¶ 9).

        Further, the Court should reject Garr’s attempt to circumvent this jurisdictional
requirement by insinuating that 800-Flowers formulated a scheme to charge auto renewal fees in
New York. (DE 14 ¶ 55.) That is exactly the type of allegation the Second Circuit and courts
within this judicial district have found insufficient to support a claim under GBL § 349. Kaufman
v. Sirius XM Radio, Inc., 474 F. App’x 5, 7 (2d Cir. 2012) (rejecting § 349 claim based on
“allegations that deceptive terms and conditions were published on a website controlled from New
York, when there is no further allegation of plaintiffs’ receipt of this information in New York”);
Wright, 439 F. Supp. 3d at 110 (allegations that defendant “hatched the deceptive scheme in New
York; sent the relevant advertising materials from New York; and received payment and processed
orders in New York [online and by mail …] neither individually nor cumulatively establish that
some part of the underlying transaction occurred in New York”).

        At most, Garr’s contentions merely re-articulate “the allegation that the Defendant[]
operate [its] principal place of business in New York,” thereby failing to establish the requisite
transactional nexus. Wright, 439 F. Supp. 3d at 110–12. Garr thus lacks statutory standing and
should be dismissed.

        As to Brundage, the complaint “ignores and fails to address the territorial requirement
where it merely alleges that [Brundage] is a citizen of New York and fails to make any allegations
about where [s]he was exposed to allegedly deceptive materials or purchased [Celebrations
Passport].” McVetty v. TomTom N. Am., Inc., No. 19 CV 4908 (NSR), 2021 WL 965239, at *3
(S.D.N.Y. Mar. 13, 2021); Chung v. Igloo Prods. Corp., No. 20-CV-4926 (MKB), 2022 WL
2657350, at *9 (E.D.N.Y. July 8, 2022). Indeed, the “General Business Law analysis does not
turn on the residency of the parties”; therefore, “the fact that [Brundage] is a citizen of New York
is insufficient.” McVetty, 2021 WL 965239, at *3 (quoting Goshen v. Mut. Life Ins. Co. of New
York, 98 N.Y.2d 314325 (2002)). Brundage “fail[s] to allege that the allegedly deceptive
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transactions involving Plaintiff[] occurred in New York,” and her claim should be dismissed for
lack of statutory standing on that basis. Chung, 2022 WL 2657350, at *9.

        Accordingly, 800-Flowers respectfully requests a pre-motion conference to discuss its
anticipated motion to dismiss the complaint, compel arbitration, and strike the class allegations.

                                             Respectfully submitted,



                                             Ari N. Rothman (pro hac vice)
                                             Counsel to 800-Flowers, Inc.


cc: All counsel of record (via ECF)
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                            WORD COUNT CERTIFICATION

      I hereby certify pursuant to the Court’s Individual Practices for Civil and Criminal Cases
and Local Civil Rule 7.1 that the total number of words in this Letter is 1,686.

                                                 Ari N. Rothman
                                                 Ari N. Rothman
